                                                                  ORDERED ACCORDINGLY.


                                                                  Dated: August 8, 2018


James R. McDonald, Jr., bar # 013604
McDonald Law Offices, PLLC
1907 E. Broadway, Suite 1                                         _________________________________
Tempe, Arizona 85282                                              Brenda K. Martin, Bankruptcy Judge
Phone: (480)968-3100
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                            IN THE UNITED STATES BANKRUPTCY COURT

                                    OF THE DISTRICT OF ARIZONA


 In re:                                           Chapter 13

 Chris Daniel Chacon, Sr.                         Case No. 2:17-bk-10439-BKM
 &
 Lucille Mendoza Chacon,                          SECOND AMENDED STIPULATED ORDER
                                                  CONFIRMING CHAPTER 13 PLAN


                                       Debtors.

The Chapter 13 Plan having been properly noticed out to creditors and any objection to confirmation
having been resolved,

   IT IS ORDERED confirming the Plan of the Debtors as follows:

    (A) INCOME SUBMITTED TO THE PLAN. Debtors shall submit the following amounts of future
income to the Trustee for distribution under the Plan.

   (1) Future Earnings or Income.   Debtors shall make the following monthly Plan payments:

          Months     Amount
          1 - 60     $1,250.00      (October 2017 through September 2022)

    The payments are due on or before the 5th day of each month commencing October 5, 2017.
Debtors are advised that when payments are remitted late, additional interest may accrue on secured
debts which may result in a funding shortfall at the end of the Plan term. Any funding shortfall must
be cured before the plan is deemed complete.

    The Debtors shall provide, directly to the Trustee copies of their federal and state income tax
returns for post-petition years ending 2017, 2018, 2019, & 2020 within 15 days of filing them. The
purpose is to assist the Trustee in determining any change in debtor’s annual disposable income.




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        (2) Other Property. None.        In the event that other property is submitted, it shall be treated as
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        supplemental payments.
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        (B) DURATION. This Plan shall continue for 60 months from the first regular monthly payment
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        described in Paragraph (A)(1) above. If at any time before the end of the Plan period all claims
4       are paid, then the Plan shall terminate. In no event will the term of the Plan be reduced to less
        than 36 months, exclusive of any property recovered by the Trustee, unless all allowed claims are
5       paid in full.
6
        (C) CLASSIFICATION AND TREATMENT OF CLAIMS. Claims shall be classified as listed below. The
7       Plan and this Order shall not constitute an informal proof of claim for any creditor. This Order
8       does not allow claims. Claims allowance is determined by § 502 and the Federal Rules of
        Bankruptcy Procedure.      The Trustee shall receive the percentage fee on the Plan payments
9       pursuant to 28 U.S.C. § 586(e), then the Trustee will pay secured creditors or allowed claims in the
10      following order:

11      (1) Administrative expenses:
12
               Attorney Fees. McDonald Law Offices, shall be allowed total compensation of $6,053.93
13             for fees and costs. Counsel received $863.00 prior to filing this case and will be paid
               $5,190.93 by the Chapter 13 Trustee upon entry of an Order for Payment of Administrative
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               Expense in this case. The fee arrangement in this case is based on an hourly fee. A fee
15             application was filed with the court on 1/22/18 and a fee order is pending in the amount of
               $5,190.93.
16
17      (2) Claims Secured by Real Property:

18             (a) Vanderbilt Mortgage, secured by a first deed of trust in the Debtors’ residence, shall be
19                 paid the prepetition arrearage of $557.14 with 0% interest. Regular post-petition
                   payments will be made directly by the Debtors to the secured creditor.
20
21             (b) Arizona Federal Credit Union, secured by a second deed of trust in the Debtors’
                   residence, shall be paid the prepetition arrearage of $16,072.98 with 0% interest.
22                 Regular post-petition payments will be made directly by the Debtors to the secured
23                 creditor.

24             (c) Wells Fargo Home Mortgage, secured a deed of trust in the Debtors' residence, shall be
                   paid the prepetition arrearage of $15,139.72 with 0% interest. Regular post-petition
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                   payments will be made by the Debtors to the secured creditor.
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           In re __________________
                                                                                         Case No. _____________

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        (3) Claims Secured by Personal Property:
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               (a) Southern Hills Acceptance, LLC, secured by a lien in a 2010 Nissan Altima, shall be paid
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                   $11,184.00 with 4.75% interest. The creditor will receive adequate protection payments
4                  of $100.00 per month. The balance of the claim shall be classified as an unsecured
                   non-priority claim.
5
6       (4) Unsecured Priority Claims:

7              (a) The Department of the Treasury/Internal Revenue Service shall be paid an unsecured
8                  priority claim of $5,230.11 with no interest for the tax years ending 2014, 2015 & 2016.

9       (5) Surrendered Property. Upon confirmation of this plan or except as otherwise ordered by the
10          Court, bankruptcy stays are lifted as to collateral to be surrendered. Such creditor shall
            receive no distribution until the creditor timely files a claim or an amended proof of claim that
11          reflects any deficiency balance remaining on the claim. Assuming the creditor has an allowed
            proof of claim, should the creditor fail to file an amended claim consistent with this provision,
12
            the Trustee need not make any distributions to that creditor. Debtors surrender the
13          following property:
14
                   None.
15
        (6) Other Provisions:
16
17         (a) The apartment lease with Rancho Murietta is rejected.

18      (7) Unsecured Non-priority Claims. Claims allowance is determined by § 502 and the Federal
19          Rules of Bankruptcy Procedure. Allowed unsecured claims shall be paid pro rata the balance
            of the payments under the Plan and any unsecured debt balance remaining unpaid upon
20          completion of the Plan may be discharged as provided in 11 U.S.C. § 1328. All allowed
21          unsecured claims must be paid in full before the Plan is deemed complete.

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        (D) EFFECTIVE DATE AND VESTING. The effective date of the Plan shall be the date of this Order.
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        Property of the estate vests in Debtors upon confirmation, subject to the rights of the Trustee to
4       assert a claim to any additional property of the estate pursuant to 11 U.S.C §1306.
5    ORDER SIGNED ABOVE
6    Approved as to Form and Content By:

7
                                                      Russell Brown
     ____________________________________
     Russell Brown, Trustee
                                                      2018.08.08
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12   James R. McDonald, Jr.
     Attorney for Debtors
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